            Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 1 of 55




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


Paula Bird, Clare Coetzer, Lauren Rose, )
Danielle Snider, Erika Wesley, “B.A.”,  )
“D.A.”, “S.B.”, “D.C.”, “P.E.”, “B.G.”, )
“L.M.”,“W.M.”, “C.S.”, “L.S.”, “G.T.”,  )
                                        )
Plaintiffs, on behalf of themselves     )                      No. 1:19-CV-1581
And a class of those similarly situated )                      JURY DEMANDED
                                        )
v.                                      )
                                        )
William Barr                            )
U.S. Department of Justice              )
950 Pennsylvania Avenue, NW             )
Washington, D.C. 20530-0001             )
Attorney General of the United States,  )
named in his official Capacity, and     )
head of the Department of Justice,      )
                                        )
Defendant.                              )
____________________________________)

CLASS COMPLAINT FOR VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
 OF 1964, AMERICANS WITH DISABILITIES ACT, AND REHABILITATION ACT


       COME NOW, the Plaintiffs, Paula Bird, Clare Coetzer, Lauren Rose, Danielle Snider,

Erika Wesley, “B.A.”, “D.A.”, “S.B.”, D.C.”, “P.E.”, “B.G.”, “L.M.”, “W.M.”, “C.S.”, “L.S.”,

“G.T.”, individually and on behalf of a class of others similarly situated, for their complaint, allege

as follows:

                                      NATURE OF ACTION

       1.       Plaintiffs bring this action under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§§ 2000e et seq. (“Title VII”), the Americans with Disabilities Act 104 Stat. 328 (1990), as

amended and the Rehabilitation Act of 1973 29 U.S.C. § 701 et seq.; Plaintiffs bring this action




                                                  1
          Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 2 of 55




individually and on behalf of a class of female New Agent Trainees (Job Series 1811) and

Intelligence Analyst trainees (Job Series 0132) at the FBI’s Training Academy in Quantico,

Virginia who have been sexually harassed, subjected to a hostile work environment, and outdated

gender stereotypes, terminated, constructively discharged, forced to resign under pressure or who

perceived that continuing in the training would be a futile gesture, suffered retaliation, and/or

suffered other types of harassment in whole or in part because of their gender since April 10, 2015.

In many cases, the harassment and discrimination take the form of gender-plus discrimination in

that women of color or who have disabilities are excessively singled out for adverse treatment.

Those female trainees who were offered other FBI employment were forced to take positions

several grades lower than their previous grade or experience justified.

                                 JURISDICTION AND VENUE

        2.     Jurisdiction is proper in this court in that the district courts have original jurisdiction

over Title VII, ADA and Rehabilitation Act claims under 28 U.S.C. § 1331 and 1343 and 42 U.S.C.

§ 2000e-5(f)(3), because they arise under the laws of the United States and are brought to recover

damages for deprivation of civil rights.

        3.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)-(c) and 42 U.S.C.

§ 2000e-5(f)(3), that the defendant’s headquarters is located in this district, the personnel records

relevant to this case are in this district, and the personnel practices challenged herein were directed

or supervised by defendants in this district.

        4.     Plaintiffs have exhausted their administrative remedies prior to bringing this suit in

that each plaintiff has filed timely charges of discrimination and filed a class complaint before the

Equal Employment Commission on October 23, 2018. More than 180 days have passed since the

filing of the class complaint and the EEOC has taken no action on this case since that filing.



                                                   2
            Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 3 of 55




                                             PARTIES

       5.       Defendant William Barr is the Attorney General of the United States, and is sued

herein in his official capacity as head of the Federal Bureau of Investigation.

       6.       Plaintiff Paula Bird, an Asian female, is a resident of the state of Florida, and is

currently employed by the FBI as an Operational Support Technician. She was discharged from

the FBI Academy as a New Agent Trainee [hereinafter “NAT”] on May 1, 2018, gave first notice

of discrimination to the EEOC on May 10, 2018, and filed a timely charge of discrimination on

May 29, 2018.

       7.       Plaintiff Clare Coetzer, a Caucasian female, is a resident of the state of Washington,

and is currently employed as a clinical social worker at an in-patient medical and psychiatric unit

in the greater Seattle-Tacoma area. She was discharged from the FBI Academy as a NAT on June

29, 2018, gave first notice of discrimination to the EEOC on August 7, 2018, and filed a timely

charge of discrimination on September 17, 2018.

       8.       Plaintiff Lauren Rose, a Hispanic female, is a resident of the state of Florida, and

is currently employed by the FBI. She was discharged from the FBI Academy as a NAT on May

20, 2015, gave first notice of discrimination to the EEOC on June 1, 2015, and filed timely charges

of discrimination on August 3, 2015 and December 10, 2018.

       9.       Plaintiff Danielle Snider, a Hispanic female, is a resident of Washington, D.C.

She was discharged from the FBI Academy as a NAT on January 31, 2018, gave first notice of

discrimination to the EEOC on February 8, 2018, and filed a timely charge of discrimination on

February 10, 2018.

       10.      Plaintiff Erika Wesley, a Caucasian and Native American female with a disability,

is a resident of the state of Arizona. During her training to become an IA she was deprived of



                                                  3
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 4 of 55




approved reasonable accommodations, sexually harassed, and publicly humiliated for her

disability, beginning in January 2018. She gave first notice of discrimination to the EEOC on

February 8, 2018, and filed a timely charge of discrimination on May 18, 2018.

       11.     Plaintiff “B.A.” is a Hispanic female. She was discharged from the FBI Academy

as a New Intelligence Analyst Trainee [hereinafter “NIAT”] on July 31, 2018, gave first notice of

discrimination to the EEOC on November 26, 2018, and filed a timely charge of discrimination on

December 13, 2018.

       12.     Plaintiff “D.A.”, an African-American female, is a resident of the state of Maryland,

and is currently employed by the FBI. She was discharged from the FBI Academy as a NAT on

June 29, 2018, gave first notice of discrimination to the EEOC on July 2, 2018, and filed a timely

charge of discrimination on September 21, 2018.

       13.     Plaintiff “S.B.”, a Caucasian female, is a resident of the state of Maryland, and is

currently employed by the FBI. She was discharged from the FBI Academy as a NAT on

September 20, 2017, gave first notice of discrimination to the EEOC on February 13, 2018, and

filed a timely charge of discrimination on March 12, 2018.

       14.     Plaintiff “D.C.”, a Caucasian female, is a resident of the Commonwealth of

Virginia, and is currently employed by the FBI. She was discharged from the FBI Academy as a

NAT on February 1, 2018, gave first notice of discrimination to the EEOC on March 2, 2018, and

filed a timely charge of discrimination on April 5, 2018.



       15.     Plaintiff “P.E.” a Hispanic female, is a resident of the state of New York. She was

dismissed from the FBI Academy as a NAT on October 25, 2016, gave first notice of




                                                 4
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 5 of 55




discrimination to the EEOC on April 24, 2019, and formally filed a charge of discrimination on

April 24, 2019.

       16.     Plaintiff “B.G.”, a Hispanic female, is a resident of the state of New York, and is

currently employed by the FBI. She was discharged from the FBI Academy as a NAT on October

24, 2018, gave first notice of discrimination to the EEOC on October 31, 2018, and filed a timely

charge of discrimination on November 28, 2018.

       17.     Plaintiff “L.M.”, a mixed-race female with a disability, is a resident of the state of

Florida. She was discharged from the FBI Academy as a NIAT on March 9, 2018, gave first notice

of discrimination to the EEOC on February 9, 2018 (prior to her dismissal), and filed a timely

charge of discrimination on February 14, 2018.

       18.     Plaintiff “W.M.”, a Caucasian female, is a resident of the state of North Carolina,

and is currently employed by the FBI. She was dismissed from the FBI Academy as a NAT on

June 29, 2018, gave first notice of discrimination to the EEOC on July 17, 2018, and filed a timely

charge of discrimination on August 10, 2018.

       19.     Plaintiff “C.S.”, a Caucasian female, is a resident of the state of Arizona, and, gave

first notice of discrimination to the EEOC on December 3, 2018, and filed a timely charge of

discrimination on February 6, 2019.

       20.     Plaintiff “L.S.”, a Caucasian female, is a resident of the state of California. She

was dismissed from the FBI Academy as a NAT on October 2, 2015, and filed timely charges of

discrimination on January 16, 2016 and May 8, 2019.



       21.     Plaintiff “G.T.”, a Caucasian female, is a resident of the Commonwealth of

Virginia. She was discharged from the FBI Academy as a NAT on February 1, 2018, gave first




                                                 5
          Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 6 of 55




notice of discrimination to the EEOC on February 14, 2018, and filed a timely charge of

discrimination on March 15, 2018.

                                   FACTUAL BACKGROUND

I.     BACKGROUND ON THE FBI’S TRAINING ACADEMY

       22.     NATs and NIATs begin their training at the FBI Academy in the Basic Field

Training Course [hereinafter “BFTC”]. The BFTC is designed to integrate students in the twenty

(20) week NAT course and the students in the twelve (12) week NIAT course where possible.

During the first approximately six (6) to eight (8) weeks, NATs and NIATs attend academic

courses together, including curriculum covering the law, interviewing and report writing,

investigative authorities and techniques, human intelligence, etc. Thereafter, NIATs continue with

additional academic and intelligence curriculum, while NATs concentrate on law enforcement

skills, to include defensive tactics, firearms, physical training, and operational skills.

       23.     Per the BFTC Requirements Document, each Trainee is to be evaluated on the

necessary basic proficiencies in specialized knowledge, skills, and abilities needed to perform their

assigned duties in both an individual and team environment.             Additionally, per the BFTC

Requirements Document, each Trainee is to be assessed on six (6) suitability dimensions:

conscientiousness, cooperativeness, emotional maturity, initiative, integrity, and judgment.

       24.     These six (6) suitability dimensions are defined and specific examples of suitable

and unsuitable behavior are described in the BFTC Requirements Document as follows:



               A.      Conscientiousness

                      1.      Conscientiousness includes behavior that is
               dependable, responsible, organized, careful, and thoughtful, with a
               great attention to detail and follow-through. It is the ability to




                                                   6
Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 7 of 55




    systematically plan, anticipate problems, and develop contingencies
    to avoid these problems.

           2.      Unsuitable behavior in this category includes
    excessively sloppy and careless work, being irresponsible when
    asked for something, losing important documents, materials,
    equipment, etc., and the failure to ask for assistance when
    appropriate and necessary.

           3.      Anticipation and assessment of problems as
    described in this category includes the ability to self-monitor and
    seek help in overcoming potential difficulties and obstacles.

    B.     Cooperativeness

            1.     Cooperativeness includes behavior that involves
    following the chain of command and being willing to collaborate
    with fellow classmates, instructors, and other individuals in the FBI;
    the Intelligence Community; other law enforcement agencies; and
    the government. It is closely associated with the ability to relate
    effectively with others and being sensitive to others’ needs.

           2.      Unsuitable behavior in this category includes being
    rude, antagonistic and/or impatient with instructors, fellow
    classmates, other FBI personnel; unnecessarily questioning the
    performance of fellow workers in front of others; being disrespectful
    to employees; and using abusive language. It also includes failure to
    communicate critical information to others.

    C.     Emotional Maturity

            1.      Emotional maturity includes behaviors that involve
    maintaining self-control and approaching potentially volatile
    situations, events, and people in a calm, professional manner. It is
    the ability to be flexible, adapt to changing situations, and remain
    level-headed and effective under stress. It is contrasted with
    behavior that is immature, irrational, and shows a lack of control
    over one’s behavior.

            2.       Unsuitable behavior includes reacting angrily or
    violently to comments made by individuals, acting inappropriately
    outside of work, (e.g., excessive drinking) using excessive force, or
    not reacting at all when it is appropriate to react. Unsuitable
    behavior also includes engaging in any form of harassment or
    discrimination.
    D.       Initiative



                                      7
Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 8 of 55




           1.      Initiative includes behavior that involves
    perseverance and dedication in performing the duties of the job,
    going above and beyond expectations to accomplish the job, making
    suggestions to improve work processes, performing duties without
    having to be told, and a willingness to put in long hours the job
    requires.

            2.     This is correlated with motivation and includes
    exhibiting a commendable work ethic. It can be contrasted with
    behavior that involves failing to do what it takes to perform the job
    successfully because of laziness or lack of interest.

           3.      Unsuitable behavior in this category includes
    refusing to put in additional time during training, failing to follow
    through with others because of inconvenience, and deliberately
    wasting time by taking a number of breaks while on duty.


   E.       Integrity

             1.      Integrity includes behavior that shows the person to
    be honest, trustworthy, disciplined, and respectful of laws and
    regulations; behaviors that display high standards of ethical conduct,
    and actions that are taken without jeopardizing or compromising
    these standards, even when there are no ramifications for not doing
    so. Behaviors involve following agency policy and the letter and
    spirit of the law, and avoiding even the appearance of impropriety.

            2.     This is related to a person’s professionalism, ability
    to maintain a positive image, ability to serve as a role model and
    represent the FBI positively to others. It can be contrasted with
    behavior that involves breaking the law and deviating from agency
    policy.

           3.       Unsuitable behavior in this category includes
    accepting favors and gratuities, showing favoritism to friends or
    relatives, failing to report conflict of interest situations, lying,
    cheating, stealing (e.g., voucher fraud), lack of candor, failure to
    cooperate in an administrative inquiry, abuse of sick leave, and
    using government property for inappropriate personal reasons.

    F.     Judgment

           1.      Judgment includes the ability to evaluate
    information, think critically, question assumptions, discern merits
    and deficiencies in logic, and self-assess one’s own skills. Behaviors



                                      8
          Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 9 of 55




                indicate the ability to decide on and commit to a responsible course
                of action, as well as the ability to accept constructive criticism and
                evaluate it appropriately.

                        2.     Unsuitable behavior in this category includes taking
                actions without thinking of the consequences, acting in a way that
                jeopardizes the reputation of the office and/or the FBI, or adamantly
                denying feedback on performance and refusing to improve one’s
                deficiencies noted by a superior.

        25.     Throughout the entirety of the BFTC, Trainees are continuously evaluated by staff

and instructors to determine if they are demonstrating an acceptable level of proficiency in job

related skills and are suitable to assume the duties of their position, as set forth in the BFTC

Requirements Document. When an instructor feels that a Trainee has failed to demonstrate an

acceptable level of proficiency in any job-related skill or has failed to maintain required suitability

standards, the instructor will notate said failure in a Suitability Notation [hereinafter “SN”]. Id.

Upon receipt of the SN, Trainees are required to sign the SN as an acknowledgment of its receipt.

The Requirements Document does not articulate how many SNs result in the recommendation for

dismissal, which results in a lack of uniformity in how SNs are used to determine who is dismissed

and who may be allowed to graduate.

        26.     Tactical Training is different from other BFTC blocks for several reasons. First,

NATs are simultaneously trained and evaluated in new competencies. This does not occur in any

other segment of New Agents’ Training.           In firearms, defensive tactics, and academics, a

significant amount of training is provided before NATs are assessed and evaluated. In the other

blocks of training, NATs have a clear transition from training to evaluation, with proficiency being

tested on a clearly articulated date, with a clearly articulated criteria for passing.

        27.     Additionally, SNs stemming from errors made at the Tactical Training Unit

[hereinafter “TTU”] are not issued uniformly, which creates a lack of equality amongst trainees.




                                                   9
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 10 of 55




For example, “Don’t Shoot” scenarios in which different groups of NATs apply the exact same

measure of deadly force are routinely met with different criticisms, and more importantly, different

consequences. Some NATs receive SNs, some receive Tactical Feedback, and some receive no

consequences whatsoever. In some instances, the issuance of a subjective SN from TTU makes

the difference between trainees graduating on time and others being dismissed.

       28.     Finally, NATs are not allowed to practice tactical scenarios at Hogan’s Alley after

hours, which prohibits NATs from taking the initiative to improve skills outside of formal

instruction. Whereas a NAT who requires additional firearms practice is offered remediation, a

NAT who makes a mistake during tactical training – even during the very first instructional block

of tactical training – is offered no option for remediation. This creates a training environment that

is adverse to learning, and instead, encourages trainees to avoid consequences instead of

developing skills.

       29.     Although the foregoing suitability dimensions appear neutral on their face, in

practice, the suitability dimensions are often, and easily, used as pretext to induce failure in female

trainees. Observation of suitability dimensions is highly subjective, and the uneven power

dynamic at the FBI Academy puts female trainees at a distinct disadvantage. This subjectivity

permits instructors to induce failure by misrepresenting scenarios, and create the appearance of a

deficiency at will. For example, female trainees are admonished for lacking integrity and/or

emotional maturity when they attempt to defend decisions made or actions taken found to be

unfavorable with an instructor. However, when male trainees do the same, they are praised for

having a “command presence.” Further, female trainees are excessively targeted for correction

and dismissal in tactical situations for perceived lack of judgment. Any tactical error can, and in

the case of female trainees, is often characterized as an error in judgment and results in the issuance




                                                  10
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 11 of 55




of an SN. In contrast, male trainees who engage in identical or similar actions and behaviors are

not issued SNs.

       30.     If the Training Management Unit [hereinafter “TMU”] determines that any NAT

or NIAT is deficient in some aspect of their respective training, TMU initiates a Suitability Review,

during which the Training Division determines if the trainee should appear before the Trainee

Review Board [hereinafter “TRB”]. The TRB is convened by the Training Division Deputy

Assistant Director [hereinafter “DAD”] and consists of the following individuals: the DAD who

serves as chair and voting member; three Training Division Section Chiefs, who serve as board

members; an Office of General Counsel [hereinafter “OGC”] representative, who serves as legal

advisor; the TMU Unit Chief, who serves as a board member; and one minority representative at

the GS-15 level, who serves as a board member. The DAD determines the attendees of the TRB,

which may or may not include the trainee’s classmates, instructors, the TMU Unit Chief, TMU

supervisor(s) and counselor(s), and any other individuals the DAD deems relevant. The trainee is

given an opportunity to appear before the board and provide a complete statement for the record,

but does not have the opportunity to hear the statements of witnesses brought before the board, nor

does the trainee have any opportunity to present witnesses on her behalf. While TMU has the

benefit of legal representation from the Office of General Counsel present at the TRB, trainees

before the TRB are not afforded with the opportunity to have legal counsel or any other

representative present, further highlighting the uneven power dynamic.           TRBs are neither

independent nor fair, depriving trainees of fundamental procedural safeguards. This results in a

fundamental denial of due process, since the TRB is, in reality, conducting a hearing on the

trainee’s termination without the opportunity to confront witnesses against them, to be represented

by counsel or an advocate, lack of notice of the underlying allegations prior to the hearing, and the




                                                 11
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 12 of 55




denial of a fair and impartial decisionmaker, all in violation of the stated procedures for the TRB,

further demonstrating that these facially neutral policies are, in fact, a pretext for discrimination.

II.    THE UNLAWFUL EMPLOYMENT PRACTICES

       31.     The FBI’s Training Division has a number of unlawful employment practices that

have an adverse impact upon female trainees.

       32.     The entire training process is highly subjective and subversive of the purpose of a

training academy. Instead of training NATs and NIATs for their jobs, the FBI Academy’s purpose

has been perverted into one of eliminating trainees who do not fit an arbitrarily subjective mold

the FBI’s Training Division believes necessary for a Special Agent or Intelligence Analyst, in

direct contrast to stated FBI hiring policies and guidance.

       33.     Through passive tolerance, the FBI has intentionally allowed the Good Old Boy

Network to flourish unrestrained at the FBI Academy. TTU instructors, almost exclusively male,

are provided no objective guidance and allowed to target for dismissal any agent they choose.

Because of the FBI’s history of tolerating the Good Old Boy Network, the subjective evaluations

by these male instructors result in female trainees being written up and subsequently dismissed at

a rate significantly and disproportionately higher than their male counterparts. Plaintiffs are

informed and believe and thereon allege that only one female defensive tactics instructor has been

on staff at the Academy since at least 2015.

       34.     The first manner in which the FBI targets female trainees for inequitable treatment

is the implementation of the Training Division’s “Requirements Document.” This document,

while setting forth the ethical standards for FBI NATs and NIATs required for successful graduation

from the FBI Academy collectively known as “suitability standards,” is not in itself discriminatory

on its face; it is the manner in which it is used that gives rise to the adverse impact of the document.




                                                  12
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 13 of 55




When a student is deemed deficient in a certain area of performance, the student is issued an SN.

The vague language used to define suitability standards such as candor, professionalism, emotional

maturity, and insubordination, is unethically contorted to allow female trainees to aggregate SNs

for minor training mistakes or fabricated incidents, and subsequently be deemed “unsuitable” as

FBI agents or analysts.

        35.     Training Division instructors, supervisors, and field counselors are authorized to

subjectively issue SNs to document trainee deficiencies. According to the aforementioned

Requirements Document distributed at the beginning of training, certain trainee errors and

deficiencies result in the issuance of a mandatory suitability notation, including errors such as

pointing a weapon at a fellow agent. However, in practice, these mandatory citations are only

mandatory when citing female trainees. Identical errors made by male trainees are regularly

ignored and undocumented. Moreover, the subjective citations, resulting from vaguely defined

standards such as “candor,” “insubordination,” and “lack of emotional maturity,” are

disproportionately issued to female trainees. For example, any effort to seek clarification, or better

understanding of course curriculum or training scenarios by female trainees consistently resulted

in female trainees being labeled as “argumentative” and written up for “lack of candor.”

Additionally, a significant portion of the SNs issued to female trainees are not for offenses which

should even constitute a SN, but rather for mistakes which the official policy only prescribes

instructors provide “tactical feedback.” Rather than allowing female trainees to learn from their

mistakes, as outlined by FBI Training Division policy, they are unduly targeted for citations to

facilitate their ultimate dismissal.

        36.     Training Division instructors, supervisors, and field counselors use sexual and

gender-based stereotypes.       For example, female trainees who demonstrated any sort of




                                                 13
            Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 14 of 55




situationally appropriate emotion were cited for lacking “emotional maturity”; female trainees who

attempted to address perceived bias within the chain of command were cited as "lacking

professionalism"; female trainees who stood by their ethical duties prescribed in the Requirement

Documents were cited as being "insubordinate"; female trainees who attempted to explain their

actions after being asked by superiors to do so, were cited as “lacking accountability.” Where

female trainees are cited for demonstrating these behaviors, male trainees are praised by the same

instructors for demonstrating a “command presence.” Additionally, a number of female NATs

received criticism for “not being aggressive enough” yet were ultimately dismissed for “being too

aggressive.”

        37.     Training Division staff, including instructors, supervisors, field counselors,

managers, and review board members, frequently dismiss mistakes made by male trainees as

isolated incidents, determine male trainees to be retrainable, and retain them at the Academy at a

disproportionately higher rate than their female trainee counterparts. When a female trainee makes

the exact same mistake, the female trainee is considered to be prima facie tactically incompetent,

and is subjectively determined to be unable to improve and unworthy of additional remedial

training.

        38.     Female trainees are often pre-selected for unnecessary and inappropriate “special

attention” by Training Division staff at the beginning of training and heavily scrutinized while

male trainees, especially those with prior law enforcement and/or military experience, are allowed

to operate with little to no supervision, as Training Division staff assume these male trainees know

what they are doing. However, those with prior law enforcement or military experience often

demonstrate tactical skills that are not in line with FBI policies and procedures.




                                                 14
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 15 of 55




       39.     Female trainees are singled out in group tactical exercises because they are

perceived as being weak and prone to failure. By singling out female trainees, they are put in

situations far more frequently that result in suitability notations.

       40.     The TRB operates without objectivity and violates established policies when

evaluating female trainees for dismissal. The review process requires that trainees be informed

why they received SNs and be given a chance to respond. However, female trainees are often

ambushed with newly issued Suitability Notations at their TRBs, and are not given appropriate

notice or time to prepare.

       41.     Male trainees are provided multiple avenues for success, in spite of their errors.

Male trainees are often permitted to retake tactical exams when female trainees are denied the same

opportunity to do so. Male trainees brought before the review board are statistically far more likely

to be retained or recycled than female trainees, who are almost always recommended for dismissal.

       42.     Female trainees are not given the opportunity to review or contest all of their SNs

before their review board because they are provided with them at the same time as the Board, in

violation of the Board’s procedures.

       43. TMU management and instructors actively seek out derogatory information, or

“gossip,” about female trainees from other instructors and counselors in order to levy additional

SNs against female trainees. However, readily observed violations of the Requirements Document

committed by males are ignored.

       44. Female trainees are subjected to a hostile work environment, pervasive sexual

harassment and sexual jokes made by numerous members of Training Division instructors,

managers and field counselors, including harassment about pregnancy, false allegations of

infidelity, use of birth control, physical appearance, manner of dress, parental status, and refusal



                                                  15
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 16 of 55




to train certain skills because of a female trainee’s breast size.

        45.     The FBI’s internal Equal Employment Office [hereinafter “EEO”] fails to

demonstrate due diligence as required by law to investigate the claims made by female trainees.

Female trainees’ claims are almost never investigated within the required time frames, and the

internal EEO staff consistently depend on extensions to perform even minimal inquiry. EEO

investigators fail to interview direct witnesses to claims made by female trainees, and conclusions

are made without good faith effort. The Responsible Management Officials (RMOs) who are

alleged to have engaged in discriminatory conduct are not required to respond to the inquiries

from EEO staff, and no investigation into or disciplinary proceedings are initiated against RMOs

who are alleged to have engaged in sexual harassment or discrimination. Moreover, female

trainees are subjected to intense retaliation for bringing EEO protected activity to the attention of

Training Division management.

        46.     Training Division management, particularly Unit Chief Kellie Holland, engaged

in retaliation against female trainees who appropriately advocated for themselves and others when

subjected to discriminatory actions by Training Division staff. Retaliatory actions taken against

female trainees include issuing additional SNs in direct violation of Training Division policy and

the FBI Core Values; intentional interference of female trainees’ efforts to improve and succeed;

precluding female trainees from taking exams required for graduation; singling female trainees

out for additional and unwarranted scrutiny; publicly disparaging female trainees; and

intimidating female trainees.

        47.     Training Division instructors, managers and field counselors consistently lack

candor, embellish, fabricate, and/or exaggerate the characterization of the female trainees’

behavior when issuing SNs to intentionally misconstrue the alleged offending behavior in a more




                                                  16
           Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 17 of 55




egregious manner. Training Division management also coerce female trainees to sign the SNs,

and threaten them with additional adverse action if they are unwilling to do so. Upon termination,

the FBI’s practice is to misinform the NATs and IAs that there is no appeal or challenge possible

to the decision, and terminated employees are not informed, however, that they may challenge

the action under Title VII, affirmatively misleading the terminated employee about their civil

rights.

                                      CLASS ALLEGATIONS

          48.   This case meets the class requirements of Fed. R. Civ. P. 23(b)(1), (b) (and (b)(3)

and 28 C.F.R. 1614.204(b), in that:

                a.     the class is so numerous that joinder of all members is impracticable;

                b.     there are questions of law or fact common to the class;

                c.     the claims or defenses of the representative parties are typical of the claims

                       or defenses of the class; and

                d.     the representative parties will fairly and adequately protect the interests of

                       the class.

          49.   Plaintiffs are informed and believe that over 100 potential members of the class

exist that were subjected to sexual harassment, hostile work environment, outdated gender

stereotypes, terminated or left training because of their gender, which is magnified when the trainee

is a woman of color or has a disability, and were isolated and subjected to excess scrutiny by the

almost exclusively male training instructors.

          50.   The members of the class were all subjected to the common practices set forth

below, were in the same classes, were evaluated and dismissed by the same group of largely male



                                                 17
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 18 of 55




training agents, and were brought before the same Trainee Review Board through the use of

suitability notations, denoting they were “unsuitable” for employment as a Special Agent or

Intelligence Analyst. They were subjected to similar harassment because of their gender and, for

those who were retained by the Bureau, were placed in grades lower than their previous

employment and qualifications.

       51.     The claims of each Plaintiff are typical of the claims of the members of the class

because each was subjected to the same subjective evaluation procedures, were more frequently

written up than their male counterparts and were dismissed by review boards using the same

subjective practices. Each was exposed to similar harassment and isolation and were subject to

the same gender stereotypes and harassment.

       52.     The representatives of the class will adequately represent the members of the class

because they have received a grant for attorney’s fees and expenses from the Time’s Up Legal

Defense Fund of the National Women’s Law Center, and are capable of funding any other expense

of this case, have all indicated their dedication to eradicating the discriminatory practices by filing

individual EEO complaints, and they have retained experienced class action counsel who has

experience in litigating class actions against the FBI and other law enforcement agencies.

         THE PLAINTIFFS’ CLAIMS MEET THE REQUIRMENTS OF FRCP 23

I.     PAULA BIRD

       53.     Plaintiff Paula Bird, an Asian female, graduated high school at the age of fifteen

(15). She went on to graduate summa cum laude from the University of Central Florida at the age

of nineteen (19), with a Bachelor of Science in Psychology and a Certificate in Behavioral

Forensics. While she was at the University of Central Florida, Ms. Bird interned over the summer

with the FBI in Washington, D.C. She subsequently continued her internship with the FBI in the



                                                  18
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 19 of 55




Maitland Resident Agency of the Tampa Division for a year prior to attending law school. At

twenty-two (22), Ms. Bird graduated in the top 10% of her class from Barry University Dwayne

O’Andreas School of Law, where she served as an editor of the Law Review and was specially

selected to be published by the Law Review. Thereafter, Ms. Bird practiced law for over six (6)

years prior to attending BFTC 18-01 as a NAT.

        54.     Despite having successfully passed the Physical Fitness Test (PFT), all academic

tests, the pistol and carbine qualifications, the defensive tactics test, and other performance tests and

evaluations, she was dismissed three (3) weeks before graduation on May 1, 2018, after being

brought before the TRB. Ms. Bird was given seven (7) SNs, all of which were from the Tactical

Training Unit. Of the seven (7) SNs, four (4) were for tactical mistakes and three (3) were wholly

unrelated to tactical performance. There were at least three (3) instances where Ms. Bird received

a SN regarding a tactical mistake for acting in the same manner as other NATs in her section who

did not receive a SN. For example, Ms. Bird was issued a SN from the former TTU UC, Randal

Glass, 1 for applying deadly force to a paper target holding a firearm during a training exercise

because neither she, nor her male partner, had a flashlight out. Ms. Bird and her partner had been

told that for the purpose of the scenario they had already “knocked and announced” (i.e. official

knock followed by “FBI. Search Warrant. Open up.”). UC Glass specifically selected Ms. Bird to

be no. 1, meaning that she would be responsible for first entry. When Ms. Bird’s partner opened

the door, she and her partner discovered that the room did not have its lights turned on. Relying

on the ambient lighting from the area outside the room, Ms. Bird observed the paper target standing

in a shooting position with both hands out holding what she correctly perceived to be a gun. UC


1
  UC Glass, who was responsible for recommending NATs for dismissal to the TRB, was
subsequently removed from TTU and assigned to the Defensive Systems Unit (DSU) – a unit
having little to no contact with trainees – in September 2018.


                                                   19
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 20 of 55




Glass chastised Ms. Bird (but not her male partner) for not using a flashlight before entering the

room and stated that “for all [she] knew, the paper target could have been holding a remote

control.” At least one male NAT made the same “mistake” in front of UC Glass during the same

exercise on the same day and was not issued a SN.

       55.     Additionally, after receiving a SN from UC Glass containing false and misleading

allegations, Ms. Bird spoke to one of her class counselors to inquire as to whether she could contest

the SN. Ms. Bird was advised that although she could draft an electronic communication (EC)

regarding the matter, it would be best if she refrained from doing so given the high level of scrutiny

she was already under at TTU.

       56.     Of the three NATs sent before the TRB from her section, Ms. Bird and another

Asian female NAT were dismissed without being allowed to take the tactics test, while the male

NAT was permitted to take the test and graduate. The male NAT who was permitted to graduate

was later told by their supervisor, Supervisory Special Agent [hereinafter “SSA”] Christopher

Neuguth, that he was only sent to the TRB because the board was concerned that it would appear

that the Academy was targeting females if they did not have at least one male NAT appear before

the TRB. The male NAT was never in danger of being dismissed and was only required to appear

in front of the TRB in order to create a false appearance of fairness.

       57.     Ms. Bird was not offered any sort of remedial tactical training, as is the standard

with other units in the BFTC curriculum. Additionally, prior to her dismissal, Ms. Bird was advised

that the Human Resources Department would offer her one support staff position (after reviewing her

resume) which she could either accept or reject. Despite her credentials and experience, the only

position offered to Ms. Bird was an entry-level Operational Support Technician which falls three (3)

pay level grades below the Special Agent position.



                                                 20
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 21 of 55




II.    CLARE COETZER

       58.     Clare Coetzer, a Caucasian female, earned a Bachelor of Arts in Psychology and a

Master of Arts in Social Work by age 23. She went on to obtain a clinical license to practice

independently. Ms. Coetzer successfully helped pilot a new program in Monterey County, CA

where mental health professionals partnered with law enforcement in order to address mental health

crises in the field. She currently works as a Licensed Clinical Social Worker in both a local

emergency department and an inpatient psychiatric hospital for adolescents in the state of

Washington. Ms. Coetzer was enrolled in BFTC 18-03. She successfully passed the PFT on

numerous occasions, all academic tests, the pistol and carbine firearms qualifications, the

defensive tactics test, and other performance tests and evaluations.

       59.     Ms. Coetzer was brought before the TRB and dismissed, three (3) weeks prior to

graduation, on June 29, 2018. Ms. Coetzer received a total of four (4) SNs for tactical deficiencies

noted during tactical training scenarios. Two (2) SNs received by Ms. Coetzer on June 5, 2018,

were for scenarios that the majority of the class failed. Ms. Coetzer voluntarily met with her

primary tactical instructor [hereafter “PTI”], and asked for feedback on how to improve. Ms.

Coetzer was told there was nothing she could do to improve. During this same meeting, Ms.

Coetzer and her class counselor were both present when the PTI told a male classmate with four

(4) SNs that he would “be fine” and “to keep working hard, and not worry about it.” Only minutes

after, the same instructor told Ms. Coetzer that her four (4) SNs were “a lot” and that “people don’t

typically graduate with four (4) SNs.” This same male classmate later failed his tactics exam twice;

and instead of following protocol for an automatic dismissal from BFTC, the PTI recommended

him for a TRB in an effort to retain him despite his failures.

       60.     On June 12, 2018, Ms. Coetzer overheard two (2) male colleagues question their



                                                 21
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 22 of 55




SNs to the PTI and their SNs were rescinded. No such reconsideration was afforded to female

trainees. If anything, questioning their SNs resulted in being issued additional SNs. Also, on June

12, 2018, despite receiving her two (2) final SNs, the only female TTU instructor told Ms. Coetzer

that a drastic improvement in her performance had been noticed and she should keep up the good

work. She also provided this feedback to the class counselor. Three other practical exercises

followed, increasing in both difficulty and complexity, and Ms. Coetzer did not receive any more

SNs, where others in the class did.

       61.     Four (4) of the nine (9) females in Alpha section were recommended by TTU for a

TRB, whereas only two (2) of the thirty (30) males in her section were recommended by TTU for

a TRB (only one of which actually had to appear before the TRB). Despite Ms. Coetzer’s

demonstrated improvement, Ms. Coetzer was sent before the TRB, without a chance to take the

tactics exam. Ms. Coetzer was not offered any sort of remedial tactical training, as is the standard

with other units in the BFTC curriculum.

III.   LAUREN ROSE

       62.     Plaintiff Lauren Rose, a Hispanic female, graduated from Liberty University in 2007

with a Bachelor of Science in Psychology and Communications. Ms. Rose entered on duty with

the FBI in September 2009 and held various professional staff positions with increasing

responsibilities until she was given a New Agents Training class date. Ms. Rose was enrolled in

the New Agents Training Program (hereinafter “NAC”] Class 15-03, BFTC’s predecessor, where

she successfully completed all academic exams, the PFT, pistol and carbine firearms

qualifications, and defensive tactics tests without incident. Ms. Rose received three (3) SNs for

mistakes made during the Tactical Training portion of the curriculum, even though several male

trainees made the same, and more egregious mistakes, but were not written up or counseled



                                                22
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 23 of 55




accordingly. Ms. Rose was dismissed from training just one week prior to graduation on May 20,

2015, after being brought before the TRB. When asked if she could be recycled, Ms. Rose was

informed the Academy did not recycle for tactics. However, within that same fiscal year, another

male trainee in NAC 14-02 had in fact been recycled for issues arising from the tactical portion of

the training and was subsequently allowed to graduate. Despite being an employee of the FBI for

nearly 6 years, Ms. Rose was forced to use 160 hours of annual leave before being reassigned.

       63.     On May 25, 2015, Ms. Rose wrote an email to then-Director James Comey

informing him of the prejudicial and discriminatory practices running rampant at the FBI

Academy. In his response, Director Comey denied such discrimination was occurring and instead

suggested she use her “pain” to reflect on her strengths and weaknesses. On June 5, 2015, Ms.

Rose sent letters to then-Assistant Directors Owen Harris (Training Division) and James Turgal

(Human Resources Division) notifying them of the unequitable treatment of female trainees at the

FBI Academy. No response was received. Ms. Rose filed a timely charge of discrimination on

August 3, 2015. In her initial complaint, Ms. Rose named several members of Training Division’s

Executive Management as RMOs, to include: Section Chief Catherine Fletcher, Section Chief

James E. Jewell, Section Chief Zachary T. Lowe, Jr., and Deputy Assistant Director Mark A.

Morgan. As DAD, Mr. Morgan facilitated and/or approved the exclusive dismissal of female new

agent trainees for tactical suitability during fiscal year 2015. With respect to Ms. Rose specifically,

Mr. Morgan stated that he took issue with her “attitude” during her oral presentation to the review

board. However, Mr. Morgan provided no additional substantiation to support why he felt that

way. It should be noted that despite Mr. Morgan’s description of Ms. Rose’s demeanor, Ms. Rose

had an exemplary history of performance reviews prior her training at the Academy, and continues

to receive excellent performance reviews after her removal from New Agents’ Training.



                                                  23
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 24 of 55




Additionally, in her sworn statement, Section Chief Catherine Fletcher admitted that she was not

a special agent, and therefore needed to ask the three male members of the review board if Ms.

Rose could improve with additional training. Ms. Fletcher was in no way qualified to be a

sufficient minority representative for Ms. Rose since she herself did not have an understanding or

background in tactics and the application of deadly force. The three male special agents told Ms.

Fletcher there was not enough time to train Ms. Rose, and Ms. Fletcher subsequently voted in

solidarity with them, undermining any notional sense of independence a review board is supposed

to offer a trainee.

        64.     On July 27, 2015, Ms. Rose applied for Reinstatement pursuant to FBI Special

Agent Reinstatement Policy 0323D 8.8. Included in her request for reinstatement was notification

of the uneven distribution of suitability notations. Although her request was formally taken under

advisement, no decision was made.

        65.     On August 15, 2016, Ms. Rose again requested consideration for reinstatement via

FBI Corporate policy by sending a formal letter to then-Assistant Director of Training Division

David Resch. Even though Ms. Rose’s Reinstatement request was entirely independent of her

EEO complaint, Mr. Resch notified Ms. Rose he was referring her file to the FBI’s Office of

General Counsel and would let her know if he was in a position to discuss. No decision was ever

made.

        66.     Ms. Rose has communicated with Human Resources Division and Training

Division, in writing, several times over the course of more than three (3) years. Ms. Rose spoke on the

telephone with Assistant Section Chief Ken Sena at HRD regarding her reinstatement. After first being told

he had already responded to her reinstatement, and later realizing he in fact had not, he quickly provided

another excuse, offering that he had recently spoken to Section Chief Jim Jewell at Training Division, who



                                                   24
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 25 of 55




was denying her “appeal.” Ms. Rose explained again that she was not appealing a decision. She was applying

for Reinstatement according HRD’s own policy. Mr. Sena then requested Ms. Rose email him, and cautioned

her “it’s probably not going to go the way you want it.” Ms. Rose emailed Mr. Sena on July 19, 2018, and

included information about the disparate treatment of female new agent trainees in her message. Mr. Sena

never responded. On October 5, 2018, Ms. Rose was effectively denied her request for reinstatement

by Training Division Counsel Amy Armstrong, contradicting 3 years of Ms. Armstrong’s own

correspondence. Ms. Rose subsequently filed a timely charge of retaliation and discrimination on

December 10, 2018.

IV.      DANIELLE SNIDER

        67.     Plaintiff Danielle Snider, a Hispanic female, is a graduate of the United States Air

Force Academy where she received a Bachelor of Science degree in Behavioral Science and

Arabic. She commissioned in the United States Air Force, where she served on active duty for

four (4) years. Ms. Snider also received a full scholarship to pursue her Master of Arts from the

University of Kansas in Political Psychology and African Studies. Ms. Snider is currently an Air

Force Reserve Captain and serves in the prestigious ranks of the Defense Attaché Service.

Immediately prior to starting at the FBI she worked at the National Counterterrorism Center

(NCTC) as an Intelligence Analyst and is a graduate of the Central Intelligence Agency Sherman

Kent Career Intelligence Analyst Course and honor graduate of the U.S. John F. Kennedy School

of Special Warfare Psychological Operations Qualification Course.

        68.     Ms. Snider was enrolled in BFTC 17-05. She successfully passed the PFT on

numerous occasions, all academic tests, the pistol and carbine firearms qualifications, and other

performance tests and evaluations. On January 31, 2018, Ms. Snider was brought before the TRB

and dismissed two (2) weeks prior to graduation for failure to demonstrate tactical judgement



                                                   25
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 26 of 55




during the tactical skills portion of her training. Ms. Snider was given a total of five (5) SNs for

tactical deficiencies noted during tactical training scenarios. Only one of those SNs warranted

an explicit SN according to the official rubric Ms. Snider received at the beginning of TTU

instruction. Ms. Snider had no previous marks on her record during the BFTC, and was told by her

SSA that she was in the top 25 out of her class of 150 students before being submitted to the TRB.

       69.     A total of six (6) NATs, five (5) female and one (1) male, were brought before the

TRB for SNs at TTU. All five (5) females were dismissed. The errors made by the one male

submitted to the review board were considered “so egregious,” and outside the norm of lawful

law enforcement behavior, according to direct observations by other students and instructors, but

he was ultimately the only student retained by the board and allowed to graduate. Several other

male NATs had received an equal or greater number of SNs as the dismissed female NATs, but

were not brought before the TRB and were allowed to graduate from the BFTC.

       70.     No offer of remedial training was provided to Ms. Snider because she and other

females were told by the TRB that there was not enough time before graduation. However, when

several male NATs failed the TTU final exam, they were given the opportunity for additional

training and a retest less than two weeks before graduation. Ms. Snider noted that several males

made the same mistakes that earned Ms. Snider her SNs for tactics, but for which they were not

written up or given SNs. Ms. Snider is also aware of one male in her class that failed the PFT,

an academic test, and the TTU test, who was not submitted a to review board and allowed to

graduate after giving instructors what they deemed a satisfactory explanation for his failures.

V.     ERIKA WESLEY

       71.     Plaintiff Erika Wesley, a Native American and Caucasian female with disabilities,

graduated from the College of William and Mary in just three (3) years with a Bachelor of Business



                                                 26
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 27 of 55




Administration and a Minor in Sociology at the age of 20. Ms. Wesley served as the Student

President of her Business School, sat on the Honor Council and worked in the College’s Equal

Employment Office. Ms. Wesley earned a Master’s Degree in Criminology from the University

of Essex in England at age 21, where she also worked for the Disabled Students Services

Department. Ms. Wesley completed one year of Law School at Pepperdine University prior to

accepting a position with the FBI. Ms. Wesley worked for the FBI for six (6) years, earning

several performance awards and promotions, serving on numerous advisory panels, and

completing a Temporary Duty Assignment to Baghdad, Iraq. Ms. Wesley voluntarily separated

from the FBI in 2010, just prior to the birth of her first child. Ms. Wesley applied for reinstatement

approximately three years prior to being offered a spot in BFTC 1801.




       72.     Ms. Wesley attended BFTC 18-01 as a NIAT. Although Ms. Wesley graduated

from the Academy, she was subjected to pervasive harassment, discrimination and retaliation.

Ms. Wesley was issued SNs based upon untruthful allegations made by Training Division field

counselors and managers, following Ms. Wesley’s attempts to address multiple instances of

discrimination she witnessed.

       73.     UC Kellie Holland stated that Ms. Wesley had not been on her “radar” prior to

Ms. Wesley contacting UC Holland after witnessing extreme harassment and discrimination of a

female trainee. Instead of UC Holland treating the blatant EEO violations with any seriousness

or concern, UC Holland threatened Ms. Wesley by stating that her coming forward would not go

without consequence.

       74.     Ms. Wesley demonstrated outstanding academic and professional performance

during BFTC, and did not receive any SNs for failing to meet objective standards. However, UC



                                                  27
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 28 of 55




Holland personally issued Ms. Wesley two SNs in one sitting just days before graduation. UC

Holland informed Ms. Wesley that UC Holland had actively asked Ms. Wesley’s counselor,

supervisor and instructors for derogatory information about Ms. Wesley. UC Holland contorted

the verbiage and context of a statement made by Ms. Wesley two months prior to cite Ms. Wesley

for insubordination and lack of professional judgement. When Ms. Wesley challenged UC

Holland on the accuracy of the statement, UC Holland quipped “Is it more important to be right

or to be heard? Hmmm?”

       75.     Ms. Wesley was frequently subjected to intimidation tactics and threatened with

dismissal over menial and even fabricated incidents failing to rise to the level of suitability

violations. On one occasion, SIA Brian Moses threatened Ms. Wesley with dismissal for tying

her uniform jacket around her waist, claiming that this was not an approved manner to wear her

uniform. On numerous occasions, Ms. Wesley witnessed counselors and supervisors choose not

to issue SNs to male trainees for committing objective, and often egregious violations of

suitability standards, while she and other trainees were constantly threatened even when doing

nothing wrong. Ms. Wesley was treated with hostility, unprofessionalism, and was publicly

harassed about her physical limitations and disabilities.

       76.     Despite    following   the   provided    protocol   for   requesting   Reasonable

Accommodations necessary to facilitate Ms. Wesley’s success at the Academy and being granted

those Reasonable Accommodations by the appropriate administrative officials, Ms. Wesley was

punitively stripped of her accommodations. Ms. Wesley suffered adverse health effects from the

removal of her accommodations, which required outside medical intervention and treatment. Ms.

Wesley’s HIPAA-protected medical information was repeatedly disclosed in classroom settings

as a way to mock and intimidate her. Ms. Wesley was also subject to harassment regarding her



                                                 28
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 29 of 55




marital status, parental status, and physical appearance. Ms. Wesley’s counselor repeatedly

claimed that Ms. Wesley had become pregnant while engaged in an extramarital affair during her

time at the Academy, which was completely untrue. Ms. Wesley was subjected to frequent

inappropriate sexually-charged commentary by male instructors and counselors, including

comments about women needing to take their birth control to control their moods, inviting female

trainees over to a male instructor’s home for special “after hours” attention, and openly

disparaging women following the males’ divorces.

VI.    “B.A.”

       77.      Plaintiff “B.A.”, a Hispanic female, graduated from Penn State University. “B.A.”

attended the BFTC as a NIAT. Despite having passed all of her academic tests and requirements,

“B.A.” was dismissed from the BFTC ten (10) days before graduation for “lack of judgment”

after receiving three (3) SNs. During her first week of training, B.A. received a SN for parking

in the wrong section of the parking lot because the designated lot was full, (for a brief period of

time, there were three overlapping classes at the Academy – 18-01, 18-02, and 18-03) and she

was unsure of where to park. However, B.A. later learned that multiple other people parked in

the wrong section of the parking lot but did not receive an SN. B.A. also received a fabricated

SN from Supervisory Intelligence Analyst [hereinafter “SIA”] Tyone Jiles for “breaking chain-

of-command” via email communications, and when she attempted to address the falsity of the

SN with her instructor, he simply shrugged his shoulders and stated, “I don’t know.” B.A. then

attempted to address the issue with UC Kellie Holland about the erroneously issued SN. In

response, UC Holland stated that “perception is reality” and that it “didn’t matter what the details

were, just what things appeared to be.” Ms. Holland also told B.A. she was nothing but a

“distraction” to her agents, and that her entire personality was a “character flaw.”



                                                 29
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 30 of 55




       78.     Throughout her time at the Academy, B.A. was subjected to pervasive sexual

harassment by attendants of the National Academy, as well as some of the New Agent Trainees,

Special Agents, and members of management. Specifically, on one occasion, an approximately

55-year old National Academy male slipped B.A. his number. Additionally, on two (2) separate

occasions, two (2) male NATs tried to convince her to have sexual intercourse with them in the

back of their car. Similarly, on two (2) separate occasions, two (2) additional male NATs tried to

convince her to sneak up to the vacant 7th floor to have sex with them. One (1) other male NAT

spent about a week harassing B.A. via text, sending her up to fifteen (15) texts a day until she had

to tell him how inappropriate and uncomfortable he made her feel. On yet another occasion, B.A.

had to have one of her friends escort her back to her room because a different male NAT was

following her throughout the night (including up to her room). None of the aforementioned males

received SNs or other admonishments for their highly inappropriate sexualized behavior.

Additionally, instructors and counselors would regularly tell B.A. she needed to smile more. B.A.

asked dozens of other male trainees at the Academy if they had ever been formally advised they

need to smile more and they all responded “no.”

       79.     Additionally, B.A.’s Senior Supervisory Intelligence Analyst [hereinafter

“SSIA”] Brian Moses, publicly asked a group of males from B.A.’s section what they thought of

her. When B.A. found out, she spoke to her class counselor about the blatant gender discrimination

and harassment she was experiencing. B.A.’s counselor acknowledged the treatment of women at

the Academy and said, “you own a mirror, you know you’re a pretty girl”, that was the way things

were and to just “play the game” if she wanted to succeed. When B.A. confronted SSIA Moses

about his attempts to elicit gossip about her, SSIA Moses responded by falsely claiming that there

was a peer-review process in place where instructors consulted students on their opinions about




                                                30
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 31 of 55




other students. No such formal peer-review process exists: SSIA Moses demonstrated a lack of

candor in attempts to legitimize his illegal behavior, in direct violation of the FBI Core Values.

        80.     One of B.A.’s instructors, SSA Charles Ro, also engaged in highly inappropriate

behavior. During each of his lectures, Mr. Ro would lay out a string of sexist, racist, and generally

sophomoric/inappropriate jokes such as a calling the only African-American female trainee with

braids “spaghetti head,” constantly referring to his “little blue balls” or the size of his genitals, and

claiming that female informants were not reliable because they were “too emotional” and all they

do is sleep around. Mr. Ro incessantly inquired from B.A.’s male classmates about her personal

life in a sexual and derogatory manner. When B.A. politely asked him about this at the Academy,

he denied ever discussing her personal life with other trainees; however, in his response to her

EEOC complaint, he acknowledged he discussed her personal/sex life with other trainees, but

only because they approached him about it first (those trainees firmly denied that and in fact were

the ones to tell B.A. about the incidents in the first place). SA Ro twice demonstrated a lack of

candor, first through denial of ever having engaged in such discussion, and second as an attempt

to justify why it was okay for him, as a male instructor with the FBI, to be discussing the

personal/marital/sex life of a twenty-five (25) year-old female student. His behavior was in direct

violation of the FBI Core Values.

        81.     During her TRB, B.A. asked that the Board speak to her other instructors, the Board

told B.A. they would, but then never did so. B.A. was alerted to her dismissal via text message

from another trainee because SSA Peter Spohn announced her dismissal to her entire class before

management informed B.A. of the decision. Although B.A. was dismissed from the academy after

receiving three (3) SNs, a male student in her class with at least seven (7) SNs graduated without

ever being brought before the TRB.



                                                   31
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 32 of 55




VII.    “D.A”

       82.      D.A., an African American female, entered on duty with the FBI in December 2011,

and is currently employed as a Staff Operations Specialist in the Counterterrorism Division. D.A.

graduated magna cum laude with a Dual Bachelor of Arts Degree in Criminal Justice and Sociology

from Mount St. Mary’s University, and then later obtained her Master of Arts in Homeland

Security where she was named Valedictorian of her graduating class at Monmouth University.

D.A. finished her academic career by obtaining her PhD from Nova Southeastern University. D.A.

received two (2) performance-based awards in her first three (3) years employed with the Bureau.

       83.      D.A. was enrolled as a NAT in BFTC 18-03. D.A. successfully passed the PFT on

numerous occasions (including holding the all-time fastest score on the 300-meter sprint for

women), all academic tests, the pistol and carbine firearms qualifications, the defensive tactics

test, and other performance tests and evaluations. She was dismissed after being brought before

the TRB and discharged on June 28, 2018, after receiving three (3) SNs.

       84.      D.A. was routinely singled out and embarrassed by TTU instructors for Tactical

Judgement performance despite the fact that D.A.’s performance was the same or similar to that

of her classmates who were not verbally criticized. For example, D.A. was told to be more

aggressive in her paint gun shooting although she successfully completed the exercise. Another

incident occurred when D.A. was issued a SN for allegedly dropping her weapon during a training

scenario. When she discussed the matter with her instructor and stated that she in fact did not drop

her weapon, she was told she had been overwhelmed by the exercise and probably didn’t remember

it correctly. Finally, D.A. was also threatened with a SN for “not running fast enough” during a

training exercise, even though she had completed the exercise successfully. Classmates who

completed the exercise after D.A. responded and moved slower than D.A.; however, they were not




                                                32
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 33 of 55




threatened with or given a SN.

VIII. “S.B.”

        85.     Plaintiff S.B., a Caucasian female, graduated Magna Cum Laude from West

Virginia University with two (2) Bachelor of Arts’ degrees in Criminology and Psychology.

While attending undergraduate school, S.B. interned with the FBI, interned with the

Monongalia County Youth Crisis Shelter, and held a part-time job as a West Virginia University

Police Cadet. Upon graduating in 2014, S.B. was hired as a Management and Program Analyst

with the FBI. S.B. received two (2) performance-based awards, was nominated for Analyst of the

Year, and received a meritorious promotion in her first two (2) years working full time with the

FBI. S.B. was hired as a NAT in BFTC 17-03.

        86.     Despite having successfully passed the PFT on numerous occasions, all academic

tests, the pistol and carbine firearms qualifications, the defensive tactics test, and other performance

tests and evaluations with no re-takes, she was dismissed two (2) weeks before graduation on

September 20, 2017, after being brought before the TRB. S.B. was informed she was being

referred to the TRB after only two (2) SNs; one of which was for her first tactical error made during

paint gun scenarios, and the second for questioning an instructor’s feedback for clarification

purposes. S.B. had no prior tactical experience prior to entering the Academy. When asking the

instructor for clarification, S.B. was ridiculed in front of her classmates and accused of “being

argumentative.” S.B. was then cornered after class by the instructor and another instructor who

had been sexually harassing S.B., and was yelled at and cursed at for “having an attitude problem

and being too argumentative.”

        87.     The TRB for S.B. was originally scheduled before the second round of paint gun

scenarios, but was postponed upon request of her class supervisor, to allow her to demonstrate



                                                   33
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 34 of 55




improvement. S.B. was complimented by several instructors for her exceptional improvement

during the second round of paint gun scenarios. Upon completion of the second round of paint

gun scenarios, S.B. was informed the TRB was “on hold” and was later subjected to the OC Spray

portion of training. S.B. was informed the next morning, while recovering from chemical burns

in both of her eyes, that the TRB would be held that morning. S.B. was brought before the TRB

on September 20, 2017, where she was issued a third SN, which violated the Bureau’s protocol

for issuances of SNs. She read this SN for the first time in the TRB and did not agree with the

information contained in the document.       S.B.’s instructor issued this SN based on false

accusations made during the second round of paint gun scenarios in which several of S.B.’s male

classmates corrected the instructor the day before.

       88.     S.B. was also informed that the TRB was required to talk to instructors that were

involved in every aspect of training, when in reality, the TRB only spoke with S.B.’s class

counselors, class supervisor, and the tactical instructors who had issued her SNs. S.B.’s class

counselors and supervisor provided arguments for the TRB to retain S.B.’s and allow her to

graduate. Other male trainees were issued three (3) or more SNs, but were not brought before the

TRB. S.B. also witnessed male trainees questioning instructors’ feedback, sometimes escalating

into arguments with the instructors, and the male trainees were neither cursed at, ridiculed, or

issued SNs. S.B. was dismissed the day of the Tactics Test, and was informed the basis of her

dismissal was “lack of judgment and emotional maturity”. S.B. was not offered any sort of

remedial tactical training, as is the standard with other units in the BFTC curriculum.

Additionally, S.B. informed UC Kellie Holland of the sexual harassment she experienced, who

dismissed S.B.’s concerns and lamented that “there’s nothing you can do about it, you will be

having a lot of mixed emotions right now, and there is no internal appeal process.”




                                                34
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 35 of 55




       89.      Further, despite S.B.’s exceptional work history as an employee of the FBI, HRD

was unable to find a position for S.B., placing her in a Leave Without Pay (LWOP) status until

December 22, 2017, when she was removed from the rolls of the FBI. Consequently, S.B. was

forced to endure a break-in-service for over two (2) months before she was able to use her contacts

to interview for her current position at the FBI.




IX.    “D.C.”

      90.       Plaintiff D.C., a Caucasian female, has worked for the FBI since December 2011.

D.C. received a Bachelor of Arts in Political Science with a specialized focus in Legal Studies and

minor in Professional Writing from Virginia Tech University. D.C. worked full time as a Financial

Operations Specialist for the FBI in San Antonio, Texas for three (3) years. D.C. then worked for

the FBI as an Intelligence Analyst in the International Operations Division and deployed overseas

on behalf of the FBI multiple times over a 2.5 year period. While working full-time for the FBI,

D.C. earned her Master of Arts in International Relations, Security Policy at St. Mary’s University

in San Antonio, Texas.

      91.       D.C. reported as a NAT in course BFTC 17-05 on October 17, 2017. D.C.

successfully passed every PFT, all academic tests, the pistol and carbine firearms qualifications,

and all other performance tests and evaluations in addition to attaining a perfect score on the

defensive tactics exam (in which she had no prior experience before attending BFTC). D.C.

received five (5) total SNs at TTU, was referred to the TRB, and was subsequently dismissed two

(2) weeks before graduation. D.C. received two (2) SNs during the first few weeks at TTU during

the same training scenario. One was for flagging a teammate during a “J-hook” room entry, during



                                                    35
            Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 36 of 55




which she witnessed a male trainee also do the day before D.C. was dismissed (towards the end of

training). D.C. made this mistake with no prior tactical experience at the beginning of training and

was harassed, screamed at, told she was “worthless”, and written up. After his violation within

mere weeks of graduation, the male NAT with previous military tactical experience, was patiently

coached by the same instructor, offering remedial guidance, “the J-hook angle can be tricky, this is

how you adjust in this situation.”

      92.       The third SN D.C. received was due to following instructions given by the same

instructor during the previous training session. The fourth SN D.C. received was for three (3)

“excessive shots” fired by her male colleague. D.C. was written up for “firing nine (9) shots,” only

six (6) of which were hers. D.C. requested the instructor do an ammo count of the weapon’s

magazine at the end of the scenario to verify how many shots she had fired. He declined to do so

and still wrote her up for firing nine (9) shots and had one of the other instructors hand her the

paperwork for the SN on a different day. The instructor refused to meet to discuss the scenario

with D.C. after she received the SN. The three (3) shots that were fired were done so by the male

colleague who insisted he had no memory of his actions during the training segment at all. D.C.

was told by the TRB and the instructor that her memory of the encounter, despite the concrete

evidence of ammunition remaining, was clearly misremembered due to the stress of the training

scenario.

      93.       D.C. had trained nightly with her classmates and had testified to the board that she

was confident she could pass the final TTU test with all the extra work she had been putting in.

D.C.’s entire section of over thirty (30) NATs all signed a letter respectfully requesting the TRB

allow her to take the test with her fellow NATs. She was told that there simply was not enough

time to train her adequately before graduation. D.C. was dismissed from NAT with no exam




                                                 36
          Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 37 of 55




failures two weeks before graduation. The reason for dismissal was “lack of tactical judgement,”

which she was told was considered an “inherent skill.” D.C. was later informed that a male

colleague who had previously failed a PFT and an academic test and who was commonly known

by classmates for poor tactics, took and failed the final TTU test. He received remedial training

and retook the final TTU test in which he failed to meet the rubric standards again. He was

permitted by the review board to “articulate” the mistake made during his retake of the final TTU

test and they marked it as a “pass.” He was ultimately allowed to graduate. D.C. had demonstrated

an ability and unwavering willingness to learn through her entire time at BFTC, and she was not

permitted to take the final exam to demonstrate the same. D.C. was not offered any sort of remedial

tactical training, as is the standard with other units in the BFTC curriculum. Of the seven (7)

female NATs in her section, only three (3) of the female NATs graduated and are now Special

Agents.

X.     “P.E.”

       94.      Plaintiff P.E., a Hispanic female, graduated with a Bachelors of Arts Degree in

Language, Culture and World Trade from Pace University. Prior to entering on duty with the FBI,

P.E. served her country as a United States Marine. She attended and completed the Marine Infantry

Course in 2002. The course consisted of the assembly and operation of multiple weapon systems.

Additionally, P.E. was trained in military tactics and maneuvers. Upon graduation, P.E. was

mobilized in support of the War on Terror in January 2003. She served as a Radio Operator during

the invasion into Iraq. In 2004, P.E. once again deployed overseas in support of Operation Iraqi

Freedom. She served as a Radio Operators on convoy traveling to and from Ramadi, Iraq. P.E.

was recognized for her outstanding performance in keeping accountability of all the

communication equipment readiness for Communications Platoon, 1st Marine Division.



                                                37
           Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 38 of 55




       95.     P.E. entered on duty with the FBI in October 2006, while still in the Marine Corps

Reserves. During her time at the FBI, she held many positions, and had the opportunity to go on

Temporary Duty to Baghdad, Iraq.        She later served as a Surveillance Specialist in the

Counterintelligence Unit for four (4) years. In 2013, P.E., completed a third overseas deployment

in support of The Georgian Deployment Program, where she served as Radio Chief Instructor and

advisor in the program. P.E. had completed a total of fourteen (14) years in the United States

Marine Corps. She was a 4th award expert rifleman and acquired her third degree black belt in

the Marine Corps Martial Arts Program. P.E. continued to serve as a Gunnery Sergeant in the

Marine Corps Reserve.

       96.     In June 2016, P.E. entered BFTC 16-04. Despite having successfully passed the

PFT on numerous occasions, all academic tests, pistol and carbine firearms qualifications, and

other performance tests and evaluations, P.E. was dismissed by TRB on October 25, 2016, after

receiving four (4) SNs from TTU. The first day of TTU, SSA Nguyen, approached P.E. after class

and asked her about her military history. P.E. summarized her military history, SSA Nguyen

smugly walked away without a response. P.E. did not understand why she was singled out by SSA

Nguyen, as there were several other veterans in the class. From that day forward, every time P.E.

asked questions, SSA Nguyen verbally berated her. During a review of a scenario, P.E. asked a

question and SSA Nguyen started yelling and cursing at her. Thereafter, SSA Nguyen would talk

to the male NATs but would not address any questions P.E. asked. P.E. asked SSA Nguyen if he

could assist in arranging after hours training for those who wanted supplemental practice but he

refused.

       97.     P.E. received three (3) of the four (4) SNs on one day. One SN was issued for

flagging Instructors while P.E. took a fall. NATs had been instructed not to lower their weapons




                                               38
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 39 of 55




when Instructors walked around observing scenarios. P.E. was issued the second SN for flagging

her partner when entering a room, despite instructors stating during the classroom instruction that

flagging partners would be inevitable in certain entry situations. That same day, P.E. male partner

was not written up for the more egregious error of shooting an unarmed subject. Her partner later

told her the Instructor had spoken to him and another male classmate and they were both told not

to worry because they would not be written up. The third SN claimed that P.E. hesitated 3-4

seconds to engage and had to be told by her partner to shoot. Her partner went on to tell P.E. to

cuff the subject. P.E. did not want to get confrontational with her partner, so she did not respond

negatively and just cuffed the subject. P.E. was not aware that she had received the SNs until a

week later. The Instructor provided with copies of the SNs, but did not have the signature and

dates of when they were signed.

       98.     During the training scenarios some of P.E.’s male counterparts had committed

similar or worse mistakes and did not receive SNs. P.E. was dismissed with just fifteen (15)

training days left. Upon being dismissed, P.E., was recommended for continued employment.

P.E. was placed on annual leave for one (1) pay period and then placed on leave without pay for

the next pay period. P.E. was offered a Support Service Technician GS-7 position in Virginia,

three pay grades below the Special Agent position, and well below her prior grade. P.E. informed

Human Resource Specialist that she was a 10-year employee with the FBI and was previously a

Surveillance Specialist, GS-11 step 4, New York (NY), before attending BFTC. The Specialist

stated they would refer her situation to the NY field office for consideration, however, when P.E.

reached out to the New York office, she was told they were not aware of her situation. She was

later contacted by the Administrative Officer and offered a Special Operations Specialist position

on The Joint Terrorism Task Force. P.E. accepted the position and served in the position for six




                                                39
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 40 of 55




(6) months. In June, 2017, P.E. voluntarily departed the FBI to attend The Department of

Homeland Security, Criminal Investigator Program at the Federal Law Enforcement Training

Center, Glenn County Georgia. P.E. successfully completed the Criminal Investigator Program

and received recognition for achieving a Top Shooter score.

XI.    “B.G.”

       99.      Plaintiff B.G., a Hispanic female, received a full scholarship to the University at

Albany, where she studied International Relations, and led her graduating class as the

Commencement Day Speaker. She went on to pursue a career within the U.S. Intelligence

Community and after a decade of government service, was eager to join the FBI. While serving

overseas in Europe, B.G. received just one month’s notice that she had been slated to attend the

FBI Academy. Committed to accepting her position and ensuing relocation, she sold her car,

furniture, and household goods and embarked on a one-way trip to the Academy in July 2018 to

attend BFTC 18-04.

       100.     While at Quantico, B.G. passed her academic, physical fitness, and firearms exams

with impressive scores. With three (3) weeks left for graduation, B.G. was informed that she had

failed her grappling test and would not be graduating. When she inquired as to the exact reason for

her exam failure, the Training Division stated that they were uncertain but informed her that she

would be recommended for Academy re-entry the following year. Since B.G. had been serving

overseas for three (3) years prior to Quantico, she did not have a home in the U.S. to report to upon

being dismissed from the Academy. Despite being homeless, she was hurried out of the Academy

within hours of receiving notice of her exam failure.         During out-processing, requests for

temporary storage of her personal belongings were turned down and she was forced to donate the




                                                 40
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 41 of 55




majority of her personal valuables to the FBI. Her belongings were collected in large plastic bags

and removed by FBI staff.

       101.    Days after her dismissal, FBI Human Resources Division [hereinafter “HRD”]

contacted B.G. to offer her a position as an entry-level Operational Support Technician. B.G. was

grateful for the opportunity but was reluctant to accept a GS-8, Step 1 position and salary due to

her extensive IC experience and prior grade of GS-11, Step 4. B.G. was informed that because

she was an “FBI dismissal” her grade and position could not be negotiated. She was likewise

advised that if she did not accept the first job offered to her that she would be terminated and face

a break in Federal service. According to HRD, “Staffing has been advised to treat dismissal

candidates as demotions for unacceptable performance”; however, upon request, HRD was unable

to provide an official policy to substantiate this assertion.

       102.    B.G.’s previous accomplishments and financial situation were treated with

complete disregard due to a subjective grappling evaluation, for which no remediation was offered,

which somehow allowed the FBI to justify discrediting ten (10) years of prior government service,

an $18,000 salary cut, career derailment, and a one-year waiting period to even re-apply to the

academy (which B.G. would have to completely start over). HRD admonished that a request to

re-enter the Academy upon dismissal is not a guarantee that re-entry will be granted, demonstrating

even further subjectivity. B.G. was discriminated against during Defensive Tactics [hereinafter

“DT”] and wrongfully dismissed from BFTC after being constantly singled out and targeted

because of her gender. B.G., who has a metal rod in her back, was accused of not trying hard

enough, being “not intense enough”, and being “lazy.” B.G. is 5 ft, 124-pounds, and has a physical

disability, but in no way lacks the drive, commitment or physical prowess necessary to perform

the required duties of a Special Agent.




                                                  41
          Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 42 of 55




         103.   On multiple occasions during her BFTC, B.G. was precluded from grappling with

other students, which is common practice. Instead, she was repeatedly singled out to grapple with

DT instructors SSA Sirko and SSA Belinda. Very rarely, if ever, were male trainees required to

grapple with DT instructors. Selecting B.G. to grapple the DT instructors became so predictable

that other female classmates made statements like, “Whoa, they really do love you, Grace.” SSA

Sirko and SSA Belinda were the only DT instructors at the Academy that consistently targeted

females to grapple with them.

         104.   Despite receiving SNs months earlier from TTU, TMU waited until three (3) weeks

prior to B.G.’s graduation to inform her that “she did not meet the standard” in defensive tactics

required for graduation. However, the Defensive Tactics Unit [hereinafter “DTU”] never informed

B.G. that she was deficient in grappling, nor did they articulate why she continued to be singled

out to fight by the instructors. DTU did not issue an SN to inform B.G. of her perceived missteps

until her dismissal. B.G. was not afforded the opportunity to present her case before the TRB,

again demonstrating the inconsistency with which SNs and dismissals are rendered. DTU failed to

offer remedial sessions offered to other trainees, and never suggested a performance plan for

improvement. This practice contrasts greatly with how other units at the Academy operate,

including the Firearms Training Unit, which offers comprehensive remediation to ensure trainee

success. Firearms instructors inform both the student and his/her supervisor of a possible

deficiency and offer timely remedial sessions to improve the trainee’s technique.

 XII.     “L.M.”

        105.    Plaintiff L.M., a multi-racial female with a disability, who holds a bachelor’s degree

in Psychology/Criminal Justice, a Master’s degree in Clinical Mental Health Counseling, and is

currently studying Biomedical Sciences at the University of South Florida while preparing for




                                                 42
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 43 of 55




enrollment in Medical School. Prior to attending the BFTC 18-01, L.M. was employed by the FBI as

an investigative specialist for the Special Surveillance Group (SSG) in Kansas City.

      106.      L.M. was enrolled in the BFTC 18-01 as a NIAT, after being forced to enter the

program by her former Special Agent in Charge [hereinafter “SAC”], Darrin Jones. L.M. had

passed phase I and II of the application process for the Special Agent position but SAC Jones

actively targeted L.M. and endeavored to put a stop to her application. This led L.M. to file a

complaint with the EEOC, which led to mediation and ultimately L.M.’s enrollment in BFTC as a

NIAT to enable her to leave the Kansas City Division.

      107.      During her training at the FBI Academy, L.M. was subjected to pervasive

harassment because of an approved disability accommodation to eat small amounts several times

a day and frequently drink water. Despite this, on several occasions, she received SNs for entering

the classroom water in a sealed container, (but was arbitrarily determined to not be spill-proof,

despite never spilling), failing to swallow a small bit food she was chewing prior to entering the

classroom, and otherwise tending to her medical needs. Her former SAC even approached her

while at the Academy to let her know that he was “surprised” to see that she was still there, clearly

suggesting that he was surprised she had not been dismissed. She was also subjected to frequent

unwarranted scrutiny of her dress and appearance.            When she complained of hostility and

harassment, she was told by UC Kellie Holland that she was guilty of unprofessional behavior,

told she didn’t know what “real” discrimination looked like, and would be immediately

recommended for dismissal. Despite attempts by fellow trainees and instructors to speak at the

TRB on L.M.’s behalf, none were given the opportunity to do so, and L.M. was dismissed.

      108.      Additionally, subsequent to her dismissal, the FBI failed to pay L.M. her final

paycheck and kept her in the system as an employee on leave without pay rather than a former




                                                   43
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 44 of 55




employee, thereby resulting in Ms. Spencer being wrongfully charged for health insurance from

the period of March 2018 through December 2018. This further resulted in damaging L.M.’s credit

report. Despite promising to correct the fraudulent charges, the FBI has failed to do so. Further,

when L.M. received her tax refund for 2018, she was made aware that the FBI had garnished the

money for the fraudulent health insurance charges from her 2018 tax return refund.

XIII.    “W.M.”

        109.   Plaintiff W.M., a Caucasian female, graduated with a Bachelor of Arts in Political

Science from North Carolina State University, and a Master of Arts in Political Science from the

University of North Carolina-Chapel Hill.

         110. W.M. was enrolled in BFTC 18-02. Despite having successfully passed the

Physical Fitness Test (PFT), all academic tests, the pistol and carbine firearms qualifications, the

defensive tactics test, and other performance tests and evaluations, W.M. was brought before the

TRB and dismissed three (3) weeks prior to graduation, for lack of judgement. Furthermore, the

TRB did not recommend W.M. for re-employment with the FBI due to “lack of emotional

maturity and evasiveness.” However, prior to attending the BFTC, W.M. had been highly

successful in her previous position, earning near perfect or perfect annual reviews and several

performance-based awards. Upon hearing of her dismissal from the BFTC, W.M. previous

supervisor and Executive Management immediately took action, without hesitation, to have her

re-instated because of her previous reputation as a high-performing employee. W.M. has

continued to receive a perfect performance rating from her current office. It is incomprehensible

that someone who has been a model employee before and after attending the Academy, acted so

reprehensibly as to be refused a recommendation for re-hire during the Academy.

        111.   W.M. was given a total of three (3) SNs by TTU for tactical deficiencies noted



                                                 44
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 45 of 55




during tactical training scenarios. She also received one SN when she initially failed her driving

test, but then passed on her first attempt at the retest. The first two (2) of W.M.’s SNs, issued on

June 18, 2018, were for scenarios in which the majority of NATs in her section struggled and

failed. On this day specifically, approximately half of the class received SNs for the same

scenarios as W.M.; however, W.M. was selected for the TRB based on these two (2) SNs,

whereas her classmates largely were not. W.M. was later issued a third SN for an accidental

discharge of her weapon in a scenario where she was specifically instructed not to unload her

weapon prior to beginning a “dry fire” exercise.

       112.    At the time she was selected for the TRB, four (4) male trainees and two (2) other

females were also selected for review. All male trainees had more SNs than W.M. Of those males,

one was allowed to return to training, without having to appear before the TRB. Two (2) others

were allowed to return to training after attending their TRBs. Only the fourth male was dismissed.

The other two (2) females were also dismissed. W.M. was given no option for remedial training,

as is the standard with other units in the BFTC. In addition, she had received no feedback from

the instructors to indicate she was considered to have been failing at TTU.

       113.    On only the second day of training at TTU, she was called a “fucking analyst” by

her PTI after she asked a simple question, and then was told she was “falling behind.” W.M.

received no subsequent feedback from the PTI regarding her performance at TTU. Conversely,

she was told by another NAT, who had been selected to serve as a go-between for the students and

the TTU staff, that the PTI thought she had improved and could tell she had been practicing. When

she specifically asked her PTI how she might improve after finding out she was under review, she

was told by the PTI that he could not provide comments on her performance and that he was unable

to identify any areas for improvement. In this same meeting, her PTI relayed a rumor he had heard




                                                   45
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 46 of 55




that W.M. was telling other NATs not to take the TTU training seriously because it was not

realistic. In fact, the opposite was true; that is, when other students talked about how unrealistic

training was, W.M. corrected them to reiterate the importance of the training. Ignoring her answer,

the PTI proceeded to berate her for this rumor. Her PTI must have relayed this conversation to the

TRB, because they asked for her opinion on the feedback mechanisms for TTU, a deviation from

the standard practice of only asking about SNs. When W.M. answered their question and

expressed her concerns, she was chastised by the TRB and told that she was not taking

responsibility for her actions and attempting to cast blame elsewhere. Because of this interaction,

W.M. believes she was not recommended for re-hire out of retaliation for her speaking out against

the current practices within TTU. W.M. was dismissed approximately two (2) hours before she

was scheduled to take the final tactics test, which was also the final test remaining in training.

XIV. C.S.

       114.    Plaintiff C.S., a Caucasian female, graduated from Baldwin-Wallace College with

a Bachelor’s of Science in Psychology in December 2010. Following graduation, she worked for

a mental health agency in the forensic mental health department with individuals diagnosed with

severe mental health disorders and criminal justice involvement. After approximately four (4)

years of serving in various positions within this agency, C.S. went on to become a Probation

Officer with Cuyahoga County in Cleveland, Ohio. After a few years working in probation, she

was then hired by the FBI and began training at the Academy on March 5, 2017, in BFTC 17-02.

Despite having successfully passed the PFT, all academic tests, pistol and carbine firearms

qualifications, the defensive tactics test, and other performance tests and evaluations, C.S. was

dismissed just a few weeks before graduation on July 14, 2017, after being brought before the TRB.




                                                 46
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 47 of 55




       115.    C.S. received her first SN on the first day or training at Hogan’s Alley on May 23,

2017. The first part of the suitability stated the following:

       During CATS-1Action/Re-Action drills, NAT Chester demonstrated
       confusion/unfamiliarity with handgun manipulation and frustration when she
       incurred multiple perceived (only one was observed by staff) malfunctions. On the
       first malfunction, staff removed NAT from the line and talked NAT through the
       clearing of a double-feed. NATs on the line were repeatedly told to work any
       malfunction in-place "within their space." In approximately three subsequent
       "malfunctions," NAT Chester removed herself from the line, gun in hand flagging
       her fellow trainees, to meander behind other NATs while attempting to clear the
       weapon. Upon each observation, staff immediately directed and/or reminded NAT
       to correct her muzzle disciple and to "find a wall" to safely conduct the clearing.

This suitability clearly states that she was told to “work within her space” to clear a malfunction

and then later states she was told to “find a wall” to safely clear her weapon. There is obvious

ambiguity in the directions that were given which created confusion as to whether to stay on the

line or move off of it to clear her weapon. Prior to this day they had only ever worked on their

malfunctions at firearms on the firing line, so she was doing what she had been trained to do up to

that point. Due to the Tactical Training Unit’s unclear instructions of where to go to clear her

weapon, she had no idea or expectation of what exactly they were looking for. It should further be

noted that C.S. had never had any prior issues with muzzle control when she was training with the

Firearms Training Unit.

       116.    The second portion of the suitability claimed that C.S. acted unprofessionally with

another male NAT during the jovial “Wild West” scenario. Both she and the male NAT were

friends and made lighthearted jokes at each other during the scenario, however, only C.S. received

an SN. Additionally, the SN was written in a manner that was both misleading and lacked candor.

Although C.S. did not want to sign the SN, she had been advised to refrain from arguing with or

challenging the authority of TTU because they “aren’t like the rest of the academy instructors.”




                                                 47
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 48 of 55




       117.    C.S. received her next two (2) SNs during her tactical exam on July 11, 2017, both

for “judgement issues with deadly force.” Tactical Instructors are easily able to create the

appearance of failure or deficiency by misrepresenting scenarios and inducing failure in female

trainees at will, which was absolutely the case for C.S.              Due to the combination of

misdirection/lack of direction during the exam, C.S. was under the impression that when the

subject was down, the scenario would be over. However, when the instructor failed to end the first

scenario after C.S. appropriately applied deadly force, C.S. was under the mistaken belief that the

instructor intended for her to shoot the subject once more to ensure that he was not making a move

towards his weapon. The instructor gave C.S. no feedback after the first scenario and moved on

to the second scenario during which the instructor, once again, failed to end the scenario and,

instead, specifically chose to wait thereby creating further confusion as to what C.S. was supposed

to do. This unnecessary but intentional delay created by the instructor manufactured an unrealistic

and artificial environment and led to another SN for misapplication of deadly force for C.S.

       118.    Throughout her training at Hogan’s Alley, C.S. participated in many exercises that

involved multiple situations which required discretion and judgement with deadly force, and never

had an issue with deadly force. However, there was a male NAT in her class that had “issues with

deadly force” during a Hogan’s Alley scenario when he entered a motel room and during the

scenario, and shot an innocent, unarmed man in the bathroom. He never went to the review board

for this significant error in judgment and was allowed to graduate.

       119.    C.S. was initially told (along with others who did not pass) that she would be given

a re-test on July 14, 2017. However, C.S. was ultimately denied the opportunity to do so as she

was referred to the TRB and dismissed on July 14, 2017. Meanwhile, another male NAT from her

section who also failed the Tactics exam and was referred to the TRB was allowed to re-take the




                                                48
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 49 of 55




Tactics exam and later graduated from the Academy. It should further be noted that C.S.

subsequently, and successfully, graduated from the Phoenix Regional Police Academy, which also

has a tactics segment, in April, 2019.

XV.      “L.S.”

       120.    Plaintiff L.S., a Caucasian female, has a Bachelor of Business Administration and

an MBA in Accounting. She obtained her CPA license in 2012 and actively maintains her license

in New York State. Prior to receiving a class date for New Agents’ Training, she worked as an

auditor in public accounting for over four (4) years.

       121.    On September 29, 2015, L.S.’s class participated in a Moot Court practical exercise

in which an undercover employee (UCE) played the role of a fourteen year-old girl who was

picked up by an adult pedophile that led to the subsequent arrest of the pedophile. L.S. was

assigned the role of UCE for her group. L.S.’s Primary Tactical Instructor, SSA Gary Galdes,

told L.S. that she should wear “short-shorts, pigtails, pink lipstick, and chew bubblegum.” Mr.

Galdes’s comments made L.S. extremely uncomfortable. On the day of the exercise, L.S. opted

to wear jeans, a long sleeve shirt, and a backpack. While she was changing for the exercise, L.S.

noticed another female trainee putting on short-shorts and styling her hair into pigtails. L.S. asked

her classmate why she was dressing in that manner, to which her classmate responded “I’m giving

him (SSA Galdes) what he wants.” When L.S. entered her classroom, Galdes asked her why she

wasn’t wearing short-shorts, pigtails, and pink lipstick, and chewing bubblegum. Again, Mr.

Galdes’s comment made L.S. feel uncomfortable.

       122.    Mr. Galdes made an additional comment to L.S. that made her feel uncomfortable

when he told her that she was going to be his “special project.” L.S. felt the comment was “out

of the blue” and it caught her off guard. On September 28, 2015, L.S. learned from a classmate




                                                49
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 50 of 55




that SSA Galdes made a derogatory comment about women when he was chastising another

trainee about his performance during a tactical exercise. L.S.’s classmate told her Galdes

admonished the trainee by saying “you are no better than a fucking female.” L.S. believes this

comment clearly showed SSA Galdes’s hostility toward women.                L.S. reported Galdes’s

comments to class supervisor SSA Jill Sheets, Class Counselor SA Steven Spahn, and SA Kieko

Wagner. SSA Sheets interviewed the trainee Galdes directed the comment to, and confirmed

Galdes had in fact made the comment.

       123.    While L.S. was at the Academy, she was aware of a male trainee in her class who

failed the Handcuffing One exam. The male trainee passed when he (and other students who

failed) were permitted to retake the exam. The male trainee later failed the Handcuffing Two

exam, which per the policy, should have resulted in an automatic dismissal from the NAT for

failure of two exams. However, on October 2, 2015, the male trainee was removed from the

classroom during a non-defensive tactics class and permitted to retake Handcuffing Two (without

other members of class 15-10 present) and then was allowed to continue on and graduate with

NAC 15-10, indicating a clear bias in favor of males to be successful despite poor performance

(and in violation of documented policy).

       124.    During a conversation that L.S. had with SSA Jill Sheets (one of NAC 15-10’s

class supervisors) Ms. Sheets stated that “It’s as if they want you to fail” due to the way L.S. was

being treated and singled out in TTU, indicating a bias within the Tactical Training Unit and a

perception that TTU targets particular NATs.




                                                50
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 51 of 55




XVI. G.T.

       125.    Plaintiff G.T., a Caucasian female, graduated from the University of Maryland with

a Bachelor of Arts in Political Science. She is licensed to practice law in Virginia, Pennsylvania

and New Jersey and litigated for four (4) years before becoming a NAT in the BFTC 17-03,

beginning May 14, 2017. After suffering a serious hand injury that required surgery and three (3)

pins in July 2017, she had to leave training to heal but was allowed to return to the Academy and

continue her training in BFTC 17-05 in October 2017.

       126.    G.T. successfully passed the PFT on numerous occasions, all academic tests, the

pistol and carbine firearms qualifications, the defensive tactics test, as well as other performance

evaluations. G.T. was informed she was being referred to the TRB after only two (2) SNs, neither

of which were particularly egregious. Half of G.T.’s class received a SN related to the same

scenario as one (1) of her SNs. G.T. knew of many males in her class who had more than two (2)

SNs who were not recommended for a TRB.

       127.    G.T. was brought before the TRB on February 1, 2018, where she was issued a third

SN from TTU, which violated the Bureau’s own protocol for issuances of SNs. She read this SN

for the first time in the TRB and did not agree with the information contained in the document. The

TTU test, which is designed to be a more objective test as compared to the “scenarios” arranged

by TTU during the course of training, was scheduled for February 2, 2018, the day after G.T.’s

review board. SSA Cortney Merkel, G.T.’s counselor, requested the board allow G.T.’s to take

the TTU test before they made their decision. G.T. was not permitted to take it and was dismissed

after the TRB on February 1, 2018, just two (2) weeks before graduation. No offer of remedial

training was provided to G.T. She and other female trainees were told by the TRB that there was

not enough time before graduation for them to receive remedial training; however, when several




                                                51
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 52 of 55




male NATs failed the TTU final exam, they were given the opportunity for additional training

and a retest less than two (2) weeks before graduation.

                                     VIOLATIONS OF LAW

       128.    The FBI’s unlawful subjective employment practices violate Title VII of the Civil

Rights Act of 1964 THE, as amended, the ADA and the Rehabilitation Act 1973 of because plaintiffs

are informed and believe that the FBI has maintained and knowingly allowed to persist a subjective

personnel system that has not been properly validated under the Uniform Guidelines, 29 C.F.R.

Section 1907, and which has an adverse impact on a protected group, here, females.

       129.    Moreover, the Bureau has been on notice of the disparities in the treatment of

female trainees since at least May of 2015 and the Inspector General has issued a report finding

underutilization of females in the hiring and retention of females in the Special Agent and

Intelligence Analyst job groups, but, the FBI has intentionally failed to address adequately these

unlawful employment practices.

       130.    This discrimination is both disparate treatment and disparate impact and the

Bureau tolerates an atmosphere of sexual harassment and retaliation, a lull in violation of Title

VII.

       131.    Plaintiffs, and those similarly situated, have experienced severe and pervasive

sexual, racial and disability harassment beyond that which a reasonable woman would tolerate.

         WHEREFORE, Plaintiffs request that the Court certify a class of females who, since April

10, 2015 have been at the FBI’s Academy as trainees to become Special Agents and Intelligence Analysts

who have been subjected to: Sexual harassment; isolation by instructors; and subjected to a hostile

work environment, outdated gender stereotypes and suffered severe emotional distress form the

atmosphere at the FBI Academy/terminated; constructively discharged, forced to resign under


                                                  52
         Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 53 of 55




pressure or who perceived that continuing in the training would be a futile gesture; were subjected

to retaliation because they were women of color or have disabilities and were additionally

harassed isolated, secluded, and subjected to even harsher aspects of the practices alleged herein;

when offered other Bureau employment was forced to take position several grades lower than

their previous grade or experience justified; and suffered other forms of harassment more than

similarly situated males trainees.

         PRAYER FOR RELIEF

         Plaintiffs request relief for the class as follows:

                 a. Issue a Declaratory Judgment that that the FBI’s personnel practices at the

                     FBI’s Training Division violate Title VII, the Rehabilitation Act of 973, and

                     the ADA;

                 b. Order the FBI to conduct a validation study of the training evaluation process

                     at the TDU, order that a validated system that minimizes adverse impact of

                     all protected groups be established; pursuant to 29 C.F.R. Section 1607;

                 c. Require all instructors, counselors and other personnel who are assigned

                     FBI’s Academy before they are permitted to take their position, to undergo

                     equal employment sensitivity training of at least two days by a recognized

                     expert in sexual harassment and discrimination;

                 d. Order the FBI to take effective affirmative action to recruit more female

                     training instructors, with a required goal of representation equal to that of

                     the FBI as a whole;




                                                  53
       Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 54 of 55




                e. Award remedial relief by re-instating, upon request, the plaintiffs, and other

                   members of the class to the TDU and provide each Plaintiff with rightful place

                   seniority and placement upon graduation;

                f. Award back pay for each member of the class according to proof;

                g. For those who do not choose reinstatement, front pay according to proof;

                h. Award damages for emotional distress for each member of the class up to

                   $300,000 per class member according to proof;

                i. Award compensation for members of the class for their expense in bringing

                   this suit;

                j. Award Attorneys’ fees according to proof;



                k. Order Correction of any personnel files of any affected members of the class;

                l. Provide such other relief as may be deemed just and Proper

Respectfully Submitted

          /s/
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                                        JURY DEMAND




                                               54
       Case 1:19-cv-01581-JMC Document 1 Filed 05/29/19 Page 55 of 55




      Plaintiffs demand a trial by jury.




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                                               55
